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                                                          tmd3574/nk
 UNITED STATES BANKRUPTCY COURT                           SEPTEMBER 9, 2019
 EASTERN DISTRICT OF NEW YORK                             9:00 A.M.
 ==================================X
 IN RE:                                                   Case No: 1-19-41508-ess

 LIMANE HOUANCHE,                                         Hon. Elizabeth S. Stong


                                                          NOTICE OF MOTION
                  Debtor
 ==================================X


               PLEASE TAKE NOTICE, that upon the within application, Marianne DeRosa,
Chapter 13 Trustee will move this court before the Honorable Elizabeth S. Stong, U.S. Bankruptcy
Judge, at the United States Bankruptcy Court, 271 Cadman Plaza East, Brooklyn, New York,
Courtroom 3585 on September 9, 2019 at 9:00AM or as soon thereafter as counsel can be heard,
seeking an order that strikes, reduces, or sets the amount of certain exemptions, pursuant to Fed.
R. Bankr. P. 4003(b), and the Chapter 13 Trustee requests such other and further relief as may
seem just and proper.
               Responsive papers shall be filed with the Bankruptcy Court and served upon the
Chapter 13 Trustee, Marianne DeRosa, Esq., no later than seven (7) days prior to the hearing
date set forth above. Any responsive papers shall be in conformity with the Federal Rules of Civil
Procedure and indicate the entity submitting the response, the nature of the response and the
basis of the response.

Date: Jericho, New York
      July 1, 2019

                                             /s/ Nathan Kaufman
                                             NATHAN Z. KAUFMAN, STAFF ATTORNEY FOR
                                             MARIANNE DeROSA, TRUSTEE
                                             100 JERICHO QUADRANGLE; STE 127
                                             JERICHO, NY 11753
                                             (516) 622-1340
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 UNITED STATES BANKRUPTCY COURT                             tmd3574/nk
 EASTERN DISTRICT OF NEW YORK                               SEPTEMBER 9, 2019
 ==================================X                        9:00 A.M.
 IN RE:

 LIMANE HOUANCHE,                                           Case No: 1-19-41508-ess

                                                            Hon. Elizabeth S. Stong

                  Debtor
 ==================================X                        APPLICATION

TO THE HONORABLE ELIZABETH S. STONG, U.S. BANKRUPTCY JUDGE:

       Nathan Z. Kaufman, Esq., staff attorney for MARIANNE DEROSA, ESQ., the Chapter 13
Trustee (the “Trustee”) in the above-captioned estate, respectfully represents the following:

       1.      The Section 341 Meeting of Creditors in this Case was closed June 6, 2019. The
Debtor’s Schedule C was filed with the Debtor’s schedules at docket number 8 (DN 8-2). Debtor
elected state non-bankruptcy federal exemptions pursuant to 11 U.S.C. §522(b)(3)

        2.     Debtor’s Schedule C does not state values for any exemptions claimed, instead
taking the “Schwab option” (100% of value up to statutory limit) for each. However, the Schedule
C is incomplete, as the entire column for “Specific laws that allow exemption” has been left entirely
blank.

       3.      The Trustee objects to each and every exemption claimed on the Debtor’s
Schedule C because the Debtor failed to list any statutes allowing the exemption. The attempt to
claim each exemption is incomplete, and leaves the Trustee and creditors in the position of
guessing at the Debtor’s intentions in listing each claim for exemption.

        4.      The Trustee objects to the following exemptions claimed on the Debtor’s Schedule
C, for the additional reasons stated:

       a.      “House 2,” A/B Line 1.2, value $87,500.00, and “House 3,” value $10,000, A/B line
               not indicated: Upon information and belief, no applicable exemption exists under
               the elected statutory exemption scheme. The assets referenced are located
               outside the State of New York.
       b.      “House 1,” 501 Eastern Parkway Brooklyn, NY, A/B Line 1.1, value $275,000.00:
               Pursuant to CPLR §5205(a)(9) and Debt. & Cred. L. §283(2), the Debtor cannot
               claim both a homestead exemption under CPLR §5206 and an exemption in cash
               or cash equivalents under CPLR §5205(a)(9) or Debt. & Cred. L. §283(2), as the
               Debtor appears to be doing here.
       c.      Cash, Bank Deposits, and Tax Refund, A/B Lines 16, 17, and 28, value $2,162.00
               total: Pursuant to CPLR §5205(a)(9) and Debt. & Cred. L. §283(2), the Debtor
               cannot claim both a homestead exemption under CPLR §5206 and an exemption
               in cash or cash equivalents under CPLR §5205(a)(9) or Debt. & Cred. L. §283(2),
               as the Debtor appears to be doing here.
       d.      “Car,” A/B Line 3.1, value $3,000.00, and “Car 2,” A/B Line 3.2, value $4,000.00.
               Pursuant to Debt. & Cred. L. §282(1) and CPLR §5205(a)(8), each debtor is only

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              entitled to one motor vehicle exemption. These exemptions are therefore mutually
              exclusive.
        WHEREFORE, the Chapter 13 Trustee respectfully requests that this Court enter an Order
striking each exemption on the Debtor’s Schedule C, and for such other and further relief as the
Court may deem just and proper.

Dated: Jericho, New York
       July 1, 2019
                                            s/Nathan Z. Kaufman
                                            Nathan Z. Kaufman, Staff Attorney for
                                            Marianne DeRosa, Chapter 13 Trustee




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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------X   Case No: 1-19-41508-ess
IN RE:

 LIMANE HOUANCHE,

                                                                        CERTIFICATE OF SERVICE
                                                                             BY MAIL
                                       Debtor.
-----------------------------------------------------------X

              This is to certify that I, Nathan Z. Kaufman, have this day served a true, accurate
and correct copy of the within Notice of Motion and Application Objecting to Debtor’s Claims of
Exemption by depositing a true copy thereof enclosed in a post-paid wrapper, in an official
depository under the exclusive care and custody of the U.S. Postal Service within New York State,
addressed to each of the following persons at the last known address set forth after each name:

Limane Houanche                                                Aleksandra K Fugate, Esq.
218-19 131st Avenue                                            WOODS OVIATT GILMAN LLP
Springfield Gardens, NY 11413                                  700 Crossroads Building
                                                               2 State Street
Vivek Suri, Esq.                                               Rochester, NY 14614
20 Vesey Street
Suite 300                                                      Shapiro, DiCaro & Barak, LLC
New York, NY 10007                                             175 Mile Crossing Blvd.
                                                               Rochester, NY 14624
Office of the United States Trustee
Eastern District of NY (Brooklyn Office)                       Sheila E. Calello, Esq.
U.S. Federal Office Building                                   McCarter & English, LLP
201 Varick Street, Suite 1006                                  Four Gateway Center, 100 Mulberry Street
New York, NY 10014                                             Newark, New Jersey 07102


This July 1, 2019

/s/Nathan Z. Kaufman
Nathan Z. Kaufman, Staff Attorney
Office of the Standing Chapter 13 Trustee
Marianne DeRosa, Esq.
100 Jericho Quadrangle; Suite 127
Jericho, NY 11753
(516) 622-1340
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CASE NO: 1-19-41508-ess
Hon. ELIZABETH S. STONG

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
========================================================================
IN RE:

LIMANE HOUANCHE,

                   DEBTOR.

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    NOTICE OF MOTION AND OBJECTION TO DEBTOR’S CLAIMS OF EXEMPTION

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                         MARIANNE DeROSA, TRUSTEE
                     100 JERICHO QUADRANGLE; SUITE 127
                              JERICHO, NY 11753
                                (516) 622-1340

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